   Case 2:23-cr-01012-ES Document 127 Filed 11/29/23 Page 1 of 1 PageID: 79
                  UNITED STATES DISTRICT COURT
                     DISTRICT OF NEW JERSEY
                                NEWARK
                         Minutes of Proceedings


Judge: Esther Salas

Court Reporter:    Mary Jo Monteleone
                                               Date: November 29, 2023
Deputy Clerk: Elisaveta Kalluci


Title of Case:

U.S.A. v. YUFENG GAO                            Docket # Cr. 23-1012(ES)


Appearances:

Kendall Randolph, AUSA, for the govt.
Stacy Biancamano, Esq., for the deft.
Nancy Wo, Mandarin Interpreter.

Nature of Proceedings:       GUILTY PLEA TO AN INFORMATION

Conference with counsel and pretrial.
In the courtroom and on record.
Mandarin Interpreter affirmed.
Defendant present and affirmed.
Defendant is advised of his rights and charges.
Factual basis placed on the record.
Plea entered: GUILTY to a One-Count Information.
Court accepts the plea.
Information filed.
Waiver of Indictment filed.
Rule 11 Form filed.
Plea Agreement filed.
Sentence: May 23, 2024 at 11:00 a.m.
Ordered bail continued.




Time Commenced:      1:00    p.m.
Time Adjourned:      2:45    p.m.
                                                         Elisaveta Kalluci
Total Time: 1.45
                                                         Courtroom Deputy
